                    IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NORTH CAROLINA


 Shannon Coulbourn Presnell,

                       Plaintiff,
                                                            COMPLAINT
           v.                                           (Jury Trial Demanded)
                                                         Case No.: 5:21-cv-107
 Sharp Electronics Corporation,

                       Defendant.


      COMES NOW Plaintiff, Shannon Coulbourn Presnell, by and through

counsel, who does allege and say of the Defendant Sharp Electronics Corporation, as

follows:


                                           PARTIES

      1.        Plaintiff Shannon Coulbourn Presnell (hereinafter “Presnell”) is an

individual and resident of Alexander County, North Carolina and was employed by

the Defendant in the State of North Carolina.

      2.        Defendant    Sharp   Electronics   Corporation   (hereinafter    “Sharp

Electronics”) is a New Jersey corporation with its headquarters in Montvale, New

Jersey.

      3.        Sharp Electronics maintains branches in seven cities in North Carolina

and conducts business throughout the State.

                             JURISDICTION AND VENUE

      4.        This Court has personal jurisdiction over the Defendant by virtue of

the Defendant’s maintenance of multiple offices within this State, and by virtue of



      Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 1 of 11
the incidents giving rise to this complaint having occurred within this State.

       5.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331.

       6.    Pursuant to 42 U.S.C. § 2000e-5(f)(3), the United States District Court

for the Western District of North Carolina is the sole appropriate and proper forum

for this action, as the Plaintiff was employed by the Defendant within that District.

                                  FACTS ALLEGED

       7.    Presnell began her employment with Kearns Business Solutions in 2004

and worked in the position of Major Account executive and Office Sales Manager for

Hickory & Asheville until 2008.

       8.    In or around 2008, Sharp Electronic acquired Kearns Business Solutions

and retained Presnell in the position of Sales Manager for the Hickory office.

       9.    In 2016, Presnell began transition from the position of Office Sales

Manager for the Hickory office to General Sales Manager (hereinafter a “GSM”) for

North Carolina.

       10.   At all times relevant to this Complaint, Presnell was the only female

GSM.

       11.   At all times relevant to this Complaint, Presnell was the only female

working in a position with duties and responsibilities comparable to that of a GSM.

       12.   During the transition from Office Sales Manager to GSM, Presnell

performed the duties of both positions.

       13.   During the aforementioned transitional period, Presnell shared her




       Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 2 of 11
GSM duties with Jerry Shumate.

         14.   Office Sales Managers and GSMs are both entitled to compensation

which includes a base salary and additional compensation based on commission for

sales.

         15.   Presnell was not paid both commissions and instead received the greater

of 50% of the GSM commission or 100% of the Hickory Sales Commission.

         16.   Conversely, Brett Sponseller, a male employee of Sharp, was allowed to

collect both commissions when he similarly worked as both an Office Sales Manager

and as a GSM.

         17.   After completing her transition to GSM, Presnell retained her position

of GSM until her termination in May of 2020.

         18.   Until her termination in May of 2020, Presnell worked throughout

locations in North Carolina and her primary place of work was in Charlotte, North

Carolina.

         19.   Prior to her termination, Presnell was a well-known GSM and respected

throughout the Sharp Electronics corporate structure.

         20.   Prior to her termination, Presnell was often called to serve on

committees and help grow “enterprise account programs”, an aspect of Sharp

Electronics’ business that Presnell excelled in.

         21.   In May of 2019, Sharp Electronics changed the compensation plan for

all GSMs and removed the ability of GSMs to earn monthly bonuses. These monthly

bonuses were replaced with a system providing a “fiscal half” bonus approximately




         Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 3 of 11
every six months.

       22.      The bonus portion of the GSM pay made up a significant portion of

Presnell’s monthly take-home pay.

       23.      Presnell, and other GSMs, expressed their dissatisfaction with the

change in compensation structure.

       24.      Responding to the displeasure and other GSMs, Sharp Electronics

agreed to revisit the changes to the bonus structure in September of 2019, the end of

the fiscal half-year.

       25.      In August of 2019, Presnell learned, through messages with a Sharp

Electronics employee, that Brett Sponseller, the GSM for South Carolina, had been

granted an amended bonus structure whereby he received additional monthly

compensation and was otherwise exempted from the pay structure that Presnell was

subjected to.

       26.      In response, Presnell approached her supervisor, who agreed to assist in

attempting to procure a similar exception for Presnell.

       27.      Throughout August and September of 2019, Presnell attempted to

receive treatment equal to that of Brett Sponseller.

       28.      Sharp Electronics denied granting Presnell a similar exception to the

one Brett Sponseller received.

       29.      In January of 2020, Sharp Electronics provided Presnell a bonus to

compensate for some lost pay potential under the new compensation scheme.

       30.      On information and belief, Sharp Electronics provided all other GSMs a




      Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 4 of 11
bonus on similar terms for a similar purpose.

      31.    The same month, Presnell learned that Brett Sponseller, thanks to his

exemption and alternative monthly compensation, had been paid over $120,000.00

more than Presnell.

      32.    This difference in pay cannot be attributed to any difference in

performance.

      33.    This difference in pay cannot be attributed to difference in geographic

location.

      34.    This difference in pay cannot be attributed to difference in duties or

responsibilities.

      35.    In January of 2020, and continuing through March of 2020, Presnell

began to internally lodge complaints regarding the unequal pay between herself and

Brett Sponseller.

      36.    Through this process, Presnell raised her complaints of unequal pay

with multiple officers and executives of Sharp Electronics.

      37.    In May of 2020 Presnell sent an email to the Director of HR for Sharp

Electronics alleging that the difference in pay was the result of Presnell being treated

differently on account of her sex, that she was concerned about retaliation for raising

such issues, and seeking help resolving the issues.

      38.    On May 19, 2020, Presnell was informed she was being terminated for

unspecified misconduct revealed in an internal audit.

      39.    Presnell subsequently learned that the grounds for such termination




      Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 5 of 11
was that she had used the Sharp Electronics Corporate American Express

(hereinafter the “Sharp AMEX”) for personal charges.

      40.     Employees of Sharp Electronics, included Presnell, were not allowed to

seek reimbursement for them through Sharp Electronics. Despite this policy,

personal expenses were frequently incurred on Sharp AMEX cards by various

employees of Sharp Electronics.

      41.     Any non-corporate expenses on the card were the responsibility of the

cardholder.

      42.     Presnell never sought reimbursement for any of the personal expenses

incurred on her Sharp AMEX.

      43.     Other male employees of Sharp Electronics, including executives

directly responsible for Presnell’s compensation, frequently used their Sharp AMEX

cards for personal expenses.

      44.     Other male employees of Sharp Electronics, including executives

directly responsible for Presnell’s compensation, frequently sought reimbursement

for personal expenses.

      45.     Such male employees of Sharp Electronics were not fired for their use of

the Sharp AMEX card for personal expenses.

      46.     On information and belief, such male employees were not even seriously

disciplined for their use of the Sharp AMEX card for personal expenses.

      47.     At the time of her termination, Presnell had not received a response to

her email to the Director of HR for Sharp Electronics.




     Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 6 of 11
      48.      At the time of her termination, Presnell raised the issue of whether her

termination was as a result of her complaints and Sharp Electronics responded that

the unequal pay was a “separate issue” that would be dealt with soon.

      49.      On May 22, 2020, Presnell participated in a phone call regarding the

circumstances of her termination. Presnell raised issues of why she was not being

provided a severance package, as other people had received, and why she would not

be compensated for large deals she had completed prior to her termination.

      50.      Sharp Electronics denied Presnell’s request for a severance package and

tabled the issue of compensation for a later date.

      51.      Sharp Electronics previously provided male employees that were

terminated with a severance package.

      52.      The Director for HR at Sharp Electronics attended the May 22, 2020,

hearing but indicated that she had still not addressed Presnell’s internal complaint.

      53.      In June of 2020 Sharp Electronics informed Presnell that she would not

be receiving any bonus compensation for the last fiscal half year she had worked.

      54.      Sharp Electronics never addressed Presnell’s internal complaint of

unequal pay.

      55.      Plaintiff timely filed a complaint with the Equal Employment

Opportunity Commission (hereinafter the “EEOC”) alleging termination on the basis

of sex, retaliatory termination, and violation of the Equal Pay Act of 1963 on or about

August 13, 2020.

      56.      On May 14, 2021 the EEOC issued a notice of right to sue to Plaintiff.




     Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 7 of 11
                              FIRST CAUSE OF ACTION
                  (Violation of the Equal Pay Act 29 U.S.C. § 207(d))

       57.    Plaintiff hereby incorporates by reference the proceeding paragraphs as

if fully stated herein.

       58.    At all times relevant to this Complaint, Plaintiff was a female employee

of Defendant.

       59.    Plaintiff occupied the position of General Sales Manager.

       60.    Plaintiff’s position as General Sales Manager entailed duties and

responsibilities which required equal skill, effort, and responsibility, and which were

performed under similar working conditions, as other General Sales Managers.

       61.    Plaintiff was paid less than at least one male General Sales Manager,

Brett Sponseller.

       62.    Plaintiff was paid less on the basis of her sex.

       63.    Plaintiff was not paid less as a result of any seniority system, merit,

system, system which measures earnings by quantity or quality of production, or any

other differential based on any factor other than sex.

       64.    Defendant’s actions were in violation of 29 U.S.C. § 207(d).

       65.    Defendant’s actions in violation of 29 U.S.C. § 207(d) were willful and

malicious.

                         SECOND CAUSE OF ACTION
(Wrongful Discharge on the Basis of Sex in Violation of 42 U.S.C. § 2000e-2)

       66.    Plaintiff hereby incorporates by reference the proceeding paragraphs as

if set out in their entirety herein.




      Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 8 of 11
       67.    Defendant employed Plaintiff in an at-will capacity until her

termination on or about May 19, 2020.

       68.    Plaintiff was terminated due to her sex and not for the pretextual

reasons provided by Defendant.

       69.    Defendant’s termination of Plaintiff was and is in violation of 42 U.S.C.

§ 2000 e through 42 U.S.C. § 2000e-3.

       70.    Plaintiff was damaged by Defendant’s actions in an amount exceeding

$25,000.00, to be proven with more specificity at trial. This amount includes lost

wages and compensatory damages related to the Defendant’s wrongful discharge of

Plaintiff.

       71.    The Defendant’s actions as alleged in this Complaint were willful and

wanton, were in reckless disregard of the Plaintiff’s rights, and the Plaintiff is

entitled to recover punitive damages against the Defendant pursuant to N.C. Gen.

Stat. § 1D-15.

                          THIRD CAUSE OF ACTION
    (Wrongful Discharge on the Basis of Sex in Violation of 42 U.S.C. § 2000e-2)

       72.    Plaintiff hereby incorporates by reference the proceeding paragraphs as

if set out in their entirety herein.

       73.    Defendant employed Plaintiff in an at-will capacity until her

termination on or about May 19, 2020.

       74.    Plaintiff was terminated in retaliation for her complaints about unequal

pay and unequal treatment on the basis of sex.

       75.    Defendant’s termination of Plaintiff was and is in violation of 42 U.S.C.




      Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 9 of 11
§ 2000 e through 42 U.S.C. § 2000e-3.

       76.   Plaintiff was damaged by Defendant’s actions in an amount exceeding

$25,000.00, to be proven with more specificity at trial. This amount includes lost

wages and compensatory damages related to the Defendant’s wrongful discharge of

Plaintiff.

       77.   The Defendant’s actions as alleged in this Complaint were willful and

wanton, were in reckless disregard of the Plaintiff’s rights, and the Plaintiff is

entitled to recover punitive damages against the Defendant pursuant to N.C. Gen.

Stat. § 1D-15.



WHEREFORE, Defendants pray this Court for the following relief:

       1.    That the Defendant be ordered to pay all costs of this action.

      2.    That the Defendants be ordered to pay Plaintiffs an amount greater
than $25,000.00 for the allegations as stated herein.

       3.    That punitive damages be recovered from the Defendants.

       4.    That all claims in this manner so triable be tried by a Jury.

       5.    That an award of attorneys’ fees be made in favor of Plaintiff.

       6.    For such relief as this Court deems just and proper.


This is the 16th day of July, 2021.

                                        Pope McMillan, P.A.
                                        Attorneys for the Plaintiff



                                        By:    /s/ Clark D. Tew
                                               Clark D. Tew



     Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 10 of 11
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Case 5:21-cv-00107-KDB-DCK Document 1 Filed 07/16/21 Page 11 of 11
